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     JESS R. MARCHESE, ESQ.
1
     Nevada State Bar #8175
2    601 S. Las Vegas Blvd.
     Las Vegas, Nevada 89101
3    (702) 385-5377
     marcheselaw@msn.com
4
     Attorney for Defendant RODRIGUEZ-PEREZ
5
                                 UNITED STATES DISTRICT COURT
6
                                          DISTRICT OF NEVADA
7

8    THE UNITED STATES OF AMERICA,                       CASE NO: 2:15-CR-320-KJD-PAL

9                   Plaintiff,
10
     v.

11   OMAR RODRIGUEZ-PEREZ,
12                  Defendant.
13

14        UNOPPOSED MOTION FOR PRE PLEA PRESENTENCE INVESTIGATION REPORT
15
            COMES NOW, JESS R. MARCHESE, ESQ., and hereby moves for or Order directing Probation
16
     to perform a pre-plea PSR for the Defendant in this case. This Motion is made and based upon the attached
17
     Points and Authorities, Declaration of Counsel, and any argument entertained at the hearing on this matter.
18

19          DATED this 30th day of November, 2017.

20                                                               MARCHESE LAW OFFICES
21

22
                                                                 ___________________________
23                                                               JESS R. MARCHESE ESQ.
                                                                 Nevada Bar No. 8175
24
                                                                 601 S. Las Vegas Blvd
25                                                               Las Vegas, Nevada 89101
                                                                 (702) 385-5377
26                                                               Attorney for Defendant
27

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1
                                         POINTS AND AUTHORITIES
2
            Recently, the undersigned received a written plea offer from the United States of America. In
3
     order to properly counsel the defendant in reference to this plea, counsel would request that this Court
4

5    order a Pre-Plea Presentence Investigation Report for Mr. Rodriguez-Perez.

6           Specifically, counsel is concerned that due to previous traffic arrests that Mr. Rodriguez-Perez
7
     may have criminal history points that might cause him to be ineligible for the safety valve and/or have an
8
     increased criminal history category. Out of an abundance of caution, counsel would like the report done.
9

10
            In addition, the undersigned has spoken with counsel for the United States of America and he

11   does not oppose this request.
12
            DATED this 30th day of November, 2017.
13

14
                                                          MARCHESE LAW OFFICES
15

16

17                                                        _________/s/____________________
                                                          JESS R. MARCHESE, ESQ.
18
                                                          Nevada Bar No. 8175
19                                                        601 S. Las Vegas Blvd.
                                                          Las Vegas, Nevada 89101
20

21

22     IT IS SO ORDERED this 1st day
23
       of December, 2017.

24
       ___________________________
25
       Peggy A. Leen
26     United States Magistrate Judge
27

28




                                                          2
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                                        CERTIFICATE OF SERVICE
1

2           I hereby certify that I served the foregoing MOTION FOR PRE-PLEA PSR via electronic filing

3    system (ECF) on the 30th day of November, 2017 to the following registered recipients:
4
     Mr. Robert Knief, Esq.
5    Counsel for United States of America

6

7

8
                                                        ___________/s/ __________________
9                                                       Employee of Marchese Law Offices
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